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CENI`RAL DlS'I'RlCT OF CAL|FORNIA

V. |§y‘ p_F_EuTv
rdHUBBARD BELL, sHELVrN JoNEs, and MAGISTRATE,S CASE NO_ _ _ '
MARQUIS AsHLEY 1 7 M §§ 0 1 §§ G 5

 

 

Cornplaint for Violation of Title 18, United States Code, Sections 371, 922(a); and Title 21, United States Code,
Sections 84l(a)(l), (b)(l)(A)

 

NAME oF MAGisTRATE JUDGE
THE HONORABLE STEVE KIM

LOCATION

- UNITED sTATEs _ _
MAGISTRATE IUDGE LOS Angeles, Cahforma

 

 

DATE oF oFFENsE PLACE 01= oFFENsE ADDREss oF AccUsED (rF KNoWN)
May 12, 2016 Los Angeles County

 

 

 

COMPLA]NANT’S STATEMENT OF FACTS CONSTITUTING THE OFFEl\ISE OR VIOLATION:

[21 U.s.c. §§ 371, 922(3)]

Beginning on a date unknown, and continuing to the present, in Los Angeles County, Within the Central
District of California, and elsewhere, defendants HUBBARD BELL, SHELVIN JONES, and MARQUIS
ASHLEY have engaged in the business of dealing firearms Without a license.

[21 U.S.C. §§ 841(a)(1), (b)(l)(A)]

On or about May 12 and August 24, 2016, in Los Angeles County, Within the Central Distn'ct of
California, defendant MARQUIS ASHLEY knowingly and intentionally distributed phencyclidine (P CP), in
Violatio:jn, of Title 21,;=§Urn`ted States Code, Sections 841(a)(l) and (b)(l)(A).

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L*A 11 ' § l

 

€§ee attached affidavit Which is incorporated as part of this Cornplaint)

 

` ,

_ MATERIAL WITNES SEs IN' RELATION To THIS CHARGE: N/A

 

_ SIGNATURE OF COl\/[PLA]NANT
Being duly sworn, I declare that the

foregoing is true and correct to the best CHRISTOPHER RUMPH ,/§,/

of rny knowledge OFFICI_AL TlTLE _ _ _
Special Agent, Drug Enforcernent Adrninistration

Sworn to before rne and subscribed in my presence,

 

 

 

 

SIGNATUR_E OF MAGISTRATE IUDGE(D DATE

STEVE KIM ' June 5, 2017

 

 

 

(1) See Federal Rules of Criminal Procedure 3 and 54

AUSA Joseph D. Axelrad X7964 REC: Detention

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AFFIDAVIT

I, Christopher Rumph, being duly sworn, declare and state as'

follows:
INTRODUCTION
l. I am a Special Agent (“SA”) with the U.S. Drug

Enforcement Administration and have been employed since May
-2012. Since graduating from the DEA Training Academyy I have
been assigned to the Los Angeles Field Division Enforcementt
Group l, a general enforcement group that investigates drug
traffickers and drug trafficking organizations.

2. I have received training regarding drug-trafficking
organizations, as well as their drug-trafficking and money
laundering activities. Through my work at the DEA, I have also
conferred and interacted with experienced special agents from
the Bureau of Alcohol Tobacco Firearms & Explosives, federal DEA
Task Force Officers (“TFOs”), and local law enforcement
investigators regarding the investigation of drug¢trafficking
and firearms offenses. l

3. During my tenure at DEA, I have been involved in
investigations regarding (l) the unlawful importation,
exportation, manufacture, possession with intent to distribute,
and distribution of controlled substances (including cocaine,
methamphetamine, Phencyclidine (“PCP”), and marijuana), (2) the
laundering of narcotics proceeds and monetary instruments
derived from narcotics activities, (3) unlawful sales,
possession, manufacturing, transportation, and importation of

firearms, and (4) conspiracies associated with firearms and

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narcotics offenses ~ My involvement in these investigations has
included debriefing defendants, witnesses, and confidential
sources; conducting physical and electronic surveillance;
assisting in court-authorized interceptions; executing search‘
and arrest warrants; seizing narcotics.and narcotics-related
assets; making arrests for narcotics-related offenses; and
analyzing documents and records related to drug-trafficking
activities and money laundering, among other things.

4. I am currently on the DEA Los Angeles Clandestine
Laboratory Enforcement Team. The Clandestine Laboratory
Enforcement Team focuses on the enforcement of drug crimes
related to narcotics that can be manufactured in clandestine
labs, including PCP, methamphetamine, MDMA, and hash oil. My
clandestine laboratory training has included 40 hours at an OSHA
certified Clandestine Laboratory Investigation/Certification
program, 24 hours of Level “A” Operations training in the
handling of hazardous material, and 24 hours of Clandestine
Laboratory site safety training. I have personally assisted in
the manufacture of methamphetamine in a hands-on training
environment; l have trained other agents in clandestine
laboratory refresher and recertification courses. I have
participated in the assessment, processing, and cleanup of
multiple clandestine laboratories, including PCP laboratories.

I have also interviewed suspects regarding the methods of

manufacturing narcotics.

[Instrumentality Protocol]

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PURPOSE OF AFFIDAVIT

 

5. This affidavit is made in support of a complaint and
arrest warrants for Marquis ASHLEY (“ASHLEY”), Shelvin JONES
(“JONES”), and Hubbard BELL (“BELL”), for conspiracy, in d
violation of 18 U.S.C. § 371, dealing firearms without a
license, in violation of 18 U.S.C. § 922(a), and distribution of
a controlled substance, in violation of 21 U.SrC. §§ 841(a)(1),
(b)(l) (“SUBJECT OFFENSES”), as well as an application for a
warrant to search the premises located at 1318 North Chester
Avenue, Compton, California, 90221 (“SUBJECT PREMISES”), as
described in Attachment A-l, and a gold 2007 Buick Lucerne
bearing Vehicle Identification Number (“VIN”) 1G4HD57267U152262,
California license plate number 7UCU803 (“SUBJECT VEHICLE”),
with a registered owner of “Marquis C. Ashley,” as described in
Attachment A-Z, for the items to be seized described in
Attachment B.

6. The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses. This affidavit is intended to show merely that there
is sufficient probable cause for the requested warrant and does
not purport to set forth all of my knowledge of or investigation
into this matter. Unless specifically indicated otherwise, all
conversations and statements described in this affidavit are

related in substance and in part only.

[Instrumentality Protocol]

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PREMISES TO BE SEARCHED

 

7. The property to be searched is the SUBJECT PREMISES
and SUBJECT VEHICLE, described in Attachment A-l and A-2,
respectively, which are incorporated herein.‘

ITEMS TO BE SEIZED

 

8. The items to be seized are the evidence, fruits, and
instrumentalities of violations of the SUBJECT OFFENSES, as
described in Attachment B, which is incorporated herein by
reference. I respectfully submit that there is probable cause
to believe that the items listed in Attachment B constitute
evidence of the SUBJECT OFFENSES and that such items will be
found at the SUBJECT PREMISES and in the SUBJECT VEHICLE.

SUMMARY OF PROBABLE CAUSE

 

9. Since March 2016, law enforcement has been
investigating a~firearms trafficking conspiracy involving BELL,
JONES, ASHLEY, and others. The investigation began when a
Confidential Source (“CS”) working with law enforcement
explained that ASHLEY is a source of firearms and narcotics in
Los Angeles. `During the investigation that followed, the CS has
engaged in numerous firearms and narcotics transactions with
ASHLEY. Through audio and video recordings of these
transactions, law enforcement has learned that BELL and JONES
are ASHLEY's firearms suppliers in Texas. Indeed, on May 1,
2017, ASHELY, JONES, and BELL were present, at different points,
for the sale of two firearms to the CS. Law enforcement

believes that BELL and JONES obtain firearms from “gun shows”

[Instrumentality Protocol]

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and gun shops in Texas before transporting the firearms to
California, where they are sold by ASHLEY. Since May 2016, the
CS has purchased approximately eighteen firearms from ASHLEY,
JONES, and BELL. ASHLEY,'BELL, and JONES are not Federal
Firearms Licensees and ASHLEY is a convicted felon.

STATEMENT‘ OF PROBABLE CAUSE

 

A. Initial Investigation of ASHLEY’s Firearms and Narcotics
Trafficking
10. Based on my personal involvement in this investigation

and discussions with other law enforcement agents and the CS, I
am aware of the following:

a. Since March of 2016, law enforcement has
conducted multiple interviews with the CS, during which the CS
explained that ASHLEY is a PCP, heroin, and firearms supplier in
the Los Angelesy California, area.1

b. ASHLEY often sends text messages to the CS that
depict multiple firearms that ASHLEY is offering for sale.2

These text messages which include pictures of ASHLEY driving

 

1 In March of 2016, DEA Los Angeles Field Division arrested
the CS and established him/her as a Confidential Source. The CS
is cooperating with law enforcement to gain consideration for
pending federal drug charges. The CS’s criminal history
includes two prior drug-related convictions. Since working with
law enforcement, the CS has consistently provided reliable and
truthful information.

2 ASHLEY's criminal history includes a 1994 juvenile
conviction for grand theft auto and carrying a loaded firearm, a
1995 arrest for second degree armed robbery, a 2006 conviction
for battery for which he was sentenced to 2 days’ jail and 3
years’ probation, a 2008 arrest for battery, a 2010 arrest for
battery, a 2010 arrest for receiving stolen property, and a 2016
felony conviction for carrying a loaded firearm in a vehicle.
ASHLEY is also a documented “O-hood” Crip gang member.

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[Instrumentality Protocoll

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with a firearm on his lap are sent for the purpose of inquiring
as to whether the CS would like to purchase the specific
firearm,

cf ASHLEY has explained to the CS that he (ASHLEY)
keeps firearms at his home, the SUBJECT PREMISES, and that the
CS could come to his home to look at different firearms
available for purchase. l

d. The CS further explained that ASHELY receives his
guns from Texas, among other places, and that ASHLEY has
previously told the CS that the person from whom he obtains the
firearms makes regular trips from Texas to Los Angeles to sell
approximately 30 firearms per trip.

e. Between May and October of 2016, the CS engaged
in the following audio and video recorded firearms and narcotics
transactions with ASHLEY which the affiant has reviewed:

i. On May 12, 2016, the CS purchased

1 approximately 32 ounces of PCP from ASHLEY. At approximately
4:00 p.m., ASHLEY met the CS at a parking lot in Compton, CA.
During the meeting ASHLEY left the CS and walked to a gold Buick3
parked in the same parking lot (California License plate number
6SNU395 and registered to “Armando TORRES”), got into the gold
Buick, and met with a man later identified as TORRES. Shortly
thereafter, ASHLEY got out of the gold Buick and returned to the

CS's car carrying a blue plastic bag containing 32 ounces of PCP

 

3 'I'his gold-Buic]<; is not the SUBJEC'T VEHICLE.

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[Instrumentality Protocol]

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in a Gatorade bottle. ASHLEY sold the CS the PCP for
approximately $2,050.

ii. On May 16, 2016, the CS purchased an AR-15-
type short barrel rifle from ASHLEY while in a parking lot in
`Beiifl@wer, cA.

iii. On June 9, 2016, the CS purchased a Heckler
»& Koch semi-automatic handgun from ASHLEY while in a parking lot
in Compton, CA.

iv. On June 29, 2016, the CS purchased a Glock
semi-automatic handgun and approximately 110 grams of heroin
from ASHLEY while in a parking lot in CarsonL CA. Specifically,
CS met with ASHLEY at 501 E. Albertoni Street, in Carson, CA,
near the Fatburger restaurant. After meeting with the CS
outside of the Fatburger restaurant, law enforcement'observed
ASHLEY remove a shoebox from the rear of his car and place the
shoebox into the CS’s car. The box was later found to contain
the Glock handgun. lASHLEY then entered the CS’s car and
transferred to him/her approximately 74,6 grams of heroin.

v. On August 24, 2016, the CS purchased
approximately one gallon of PCP from ASHLEY while in a parking
lot in Compton, CA; During the meeting ASHLEY left the CS and
met with TORRES, who was parked in the same parking lot in his
~gold Buick. ASHLEY briefly entered TORRES's gold Buick and
emerged carrying a brown cardboard Home Depot box. ASHLEY

returned to the Cst car and gave him/her the brown cardboard

[Instrumentality Protocol]

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Home Depot box which was later found to contain approximately
one gallon of PCP.

vi. On October 20, 2016, the CS met ASHLEY at a
residence located at 16931 Billings Drive, Carson, California.
Law enforcement agents conducting surveillance observed ASHLEY
enter the house as the CS waited outside in his/her car.

Shortly thereafter, ASHLEY made two separate trips out of the
house to the CS's car. 'During the second trip, ASHLEY was seen
carrying a rifle case to the CS’s carf Ultimately, ASHLEY soldl
the CS seven firearms, including two Draco AK-47-type firearms,
two drum style magazines, two Smith and Wesson .40 caliber
pistols, and three Kahr .40 caliber pistols,

B. Law Enforcement Identifies Firearms Source in Texas

11. Based on my personal involvement in this investigation
and discussions with other law enforcement agents, I am aware of
the following:

`a. ln February of 2017, ASHLEY asked the CS to
provide a trusted truck driver to transport $15,000-worth of
firearms from Texas to California.

b. On February 24, 2017, the CS conducted a
consensually monitored meeting with ASHLEY to discuss future
firearms purchases.*‘During the meeting, ASHLEY made a cellular d
video call to an individual referred to as “Jay,” and who was

later identified by the CS as JONES.

[Instrumentality Protocol]

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c. On March 16, 2017, ASHLEY provided the CS with
the telephone number for his firearms supplier in Texas so the
CS could communicate directly with the firearms supplier.

d. 40n March 16, 2017, the CS used the number
provided by ASHLEY, 979-267-0695, to COntaCt JONES (“JONES'S
PHONE”).

e. On March 23, 2017, the CS met with JONES in
Hawthorne, CA, to discuss a firearms transaction. During the
conversation, the CS was equipped with an audio recording-
device. JONES explained to the CS that he (JONES) wanted to use
a truck driver provided by the CS to transport firearms from
Texas to Los Angeles. During the meeting JONES and the CS
discussed purchasing firearms at gun shows in Texas and
transporting the firearms to California for resale. The CS left
the meeting by telling JONES s/he would let JONES know when the
CS's truck driver would be passing through Texas.

f. After JONES and the CS finished their
conversation, law enforcement observed JONES enter the passenger
side of green Kia rental car, with California license plate
7UUG868.

g. According to Fox`Rent A Car records, on March 23,
2017, the green Kia had been rented to “Shelvin JONES, 7706
Summerdale Road, Richmond, TX 77469” with a listed telephone

number of 281-902-9970.

h. On April.ll, 2017, I performed a toll analysis on _

JONES'S PHONE frOm_MarCh ll, 2017 to April lO, 2017. The

~[Instrumentality Protocol]

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analysis showed that JONES’s PHONE was in contact with, among
others, phones associated with ASHLEY and BELL.4

12. Based on my personal involvement in this investigation
and discussions with other law enforcement agents and the CS, 1
am aware of the following:

a. On May 1, 2017, the CS purchased a suspected
fully automatic rifle and a handgun from ASHLEY, JONES, and
BELL. Specifically, at approximately 3:12 p.m., a Kia SUV with
two occupants arrived in the parking lot of the Gateway Towne
Center in Compton, CA, and parked next to the CS’s car. The CS
subsequently identified the driver of the sedan as BELL and his
passenger as JONES. ASHLEY arrived separately in the SUBJECT
VEHICLE. After ASHLEY, JOI\TES, and BELL had all arrived, ASHLEY
and JONES met with the CS in the CS's car. During their
meeting, BELL did not get into the CS’s car but instead walked
towards the east end of the parking lot. The CS was equipped
with an audio and video recording device, and law enforcement-
conducted surveillance

b. While in the CS’s car, ASHLEY; JONES, and the CS
discussed the fully automatic rifle ASHLEY and JONES were
offering for sale. During their conversation, ASHLEY and JONES
referred to the rifle_as a “fully.” Based on my training and
experience, l believe the term “fully” is a reference to a

fully-automatic firearm. While in the CS's car, ASHLEY and

 

4 The phone used by ASHLEY was the same phone number used
by the CS to communicate with ASHLEY, and BELL’s phone number
was obtained from the Los Angeles Police Department incident
report of September 21, 2016. '

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[Instrumentality Protocol]

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JONES also showed the CS a bag full of firearms that were being
offered for sale and discussed the possibility of conducting
future transactions at another location.

c. Ultimately/ JONES provided the CS with a rifle
bag containing an AR-lB-type style rifle with no serial number
and twenty-nine rounds of ammunition, as well as a .380 Ruger
pistol with an obliterated serial number. The CS paid JONES
$3,500 for both firearms,

d. During the transaction, BELL was seen returning
to the rental car and opening and closing the rear cargo-area of
the car before getting into the driver's seat.

e. Following the firearms transaction, JONES
returned to the rental car where BELL was waiting and placed the
bag full of firearms in the rear cargo-area of the car.

f. Following the transaction, and after the CS left
the parking lot, BELh was observed speaking with ASHLEY.

g. During the debrief of the CS following the
transaction, the CS was shown pictures of JONES and BELL from
their respective Texas driver's license. The CS positively
identified JONES as “Jay” and the same individual from whom
he/she purchased the firearms, The CS also positively
identified BELL as the driver of the Kia sedan. \

h. Inquiries of Fox Rent A Car, determined that the
Kia SUV had been rented on May 1, 2017, by BELL, with contact
information of 2701 East Belford Apt. 921, Houston, TX, and a

phone number of 281-902-2970.

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[Instrumentality Protocol]

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13. Based on my personal involvement in this investigation
and discussions with other law enforcement agents and the CS, I
am aware of the following:

a. On May 12, 2017, the CS purchased six firearms
from ASHLEY. Specifically, at approximately 1:48p.m., ASHLEY
arrived in the parking lot of the Gateway Towne Center in
Compton, CA. ASHLEY removed a black duffle-bag from the trunk
of the SUBJECT VEHICLE and entered the CS's car. The CS was
equipped with an audio and video recording devicei

b. Once in the CS's car, ASHLEY talked with the CS
about various firearms contained in the black duffle-bag, after
which ASHLEY sold the CS six modified firearms for $8,000. The
firearms include: two Inter Ordinance .762 caliber pistols with
no or obliterated serial number; a Radical Firearms .223/.556
caliber pistol, serial number RFT01214; a Keltec .556 caliber
pistol with no and/or obliterated serial number with a magazine
loaded with twenty-four rounds of .223 ammunition; a Keltec .556
caliber pistol with no or obliterated serial number and
magazine; a Romarm/Cugir .762 caliber pistol with no orb
obliterated serial number; and a box containing fifty rounds of
.223 caliber ammunition and assorted firearm magazines and
parts.

C. Additional Investigation of ASHLEY, BELL, and JONES
14. Based on my involvement in this investigation, as well
as conversations with other law enforcement agents involved in

the investigation, 1 am aware of the following:

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[Instrumentality Protocol]

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a. On September 21, 2016, the Los Angeles Police
Department executed a search warrant related to a homicide
investigation at 4114 Crenshaw Blvd., Los Angeles, California.
Kevin Mitchell and BELL were detained and two handguns were
recovered. In the trunk of Mitchell's vehicle, officers found a
gun case containing a boarding pass and luggage receipt for
BELL, which indicated that he checked firearms on a flight on
`september 19, 2016.

b. A subsequent query of Transportation Security
Administration databases shows that BELL flew from Houston
lnternational Airport to Los Angeles International Airport-on
September 19, 2016.

c. In October 2016, the lnglewood Police Department
recovered a 9mm pistol during a traffic stop of Chad Johnson, a
convicted felon and active member of the Inglewood Family street
gang. Based on subsequent investigation, law enforcement
determined that the pistol was purchased on August 27, 2016, by
BELL at a gun show in Houston, Texas.

d. On November 22, 2016, LAPD officers along with
ATF Special Agents conducted surveillance prior to executing a
_search warrant at the residence located at 5232 Fairview, Los
Angeles, California. During the surveillance, law enforcement
observed Nico Shores and Kevin Mitchell leave the residence.

Ten firearms including a fully automatic rifle, a silencer, and

several pounds of narcotics were recovered. One of the firearms

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[Instrumentality Protocol]

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recovered during this search warrant was registered to BELL and
was purchased by_BELL in Texas.

e.v On December 12, 2016, an LAPD officer was
involved in a shooting when a suspect pointed a gun at the
officer. During the`investigation that followed, the suspect's
residence was searched and law enforcement recovered ten
firearms, one of which had been previously purchased by BELL in
fexas. l

f. On February 15, 2017, a .40 caliber pistol was
recovered at the termination of`a law enforcement pursuit that
followed a suspected assault with deadly weapon on a police
officer. Based on subsequent investigation, law enforcement
-determined that the .40 caliber pistol had previously been
purchased in October 2016 by BELL.

g. In May of 2017, an ATF inquiry of the National
Firearms Registry and Transfer Record showed that BELL has
purchased approximately 100 firearms that were reported during
different transactions on ATF Reports of Multiple Sale or Other
Disposition of Pistols and Revolvers.5

h. In May of 2017, an ATF inquiry into JONES
revealed that JONES has had no Multiple Sales purchases and no

firearms traces.

 

5 In the event that an individual purchases two or more
handguns within a five-day period from a Federal Firearms
Licensee, the Licensee is required to complete a report that is
sent to ATF that documents the sale. Importantly, this
reporting requirement does not require Licensees to report the
sale of rifles and shotguns, or single handgun purchases from a
Licensee.

14
[Instrumentality Protocol]

